
17 So.3d 960 (2009)
Allen ROBERTSON, Jr.
v.
Burl CAIN, Warden.
No. 2008-KP-1116.
Supreme Court of Louisiana.
September 4, 2009.
Granted in part; otherwise denied. The district court's judgment denying relator's claim that he is mentally retarded and so exempt from capital punishment, see Atkins v. Virginia, 536 U.S. 304, 122 S.Ct. 2242, 153 L.Ed.2d 335 (2002), is reversed. This case is remanded to the district court for purposes of conducting an evidentiary hearing at which relator will have the burden of proving by a preponderance of the evidence that he is mentally retarded and thus may not be executed. See State v. Dunn, 07-0878 (La.1/25/08), 974 So.2d 658. In all other respects, the application is denied.
